
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00001-CR


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QUINCE LADAYNE THOMAS, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 6th Judicial District Court


Fannin County, Texas


Trial Court No. 20160




                                                 




Before Morriss, C.J., Ross and Carter, JJ.


Opinion by Chief Justice Morriss



O P I N I O N



	Quince Ladayne Thomas was convicted of aggravated sexual assault and sentenced to
eighteen years' confinement in the Texas Department of Criminal Justice-Institutional Division.  On
appeal, Thomas contends the evidence was insufficient to corroborate the accomplice witness'
testimony, and without the accomplice testimony, Thomas asserts the remaining evidence was
insufficient to support the verdict. 

	On September 4, 1997, the victim, S. H., attended a junior varsity football game at Leonard
High School.  After arriving at the game, S. H. accepted an invitation to take a ride with Heath
Baxter in his car.  During the course of their ride, S. H. consumed large quantities of tequila.  As a
result, S. H. became extremely inebriated.  When the game concluded, Wesley Stevenson convinced
S. H. to ride home with him.  Then Stevenson and S. H. accepted a ride from Tony Hailey.  At the
time they accepted the ride, Thomas was riding in the passenger seat of Hailey's vehicle.  Stevenson
testified that after leaving the stadium Hailey drove to what was commonly known as the "rock pits"
or "Hangman's tree," which requires driving on a gravel road.  S. H. testified that, because of her
drunken state, she did not remember specific details about the ride or the assault.  However, S. H.
testified she remembered hearing the sound of rocks hitting the car as they drove.  After arriving at
the "rock pits," it was Stevenson's testimony that Hailey picked up S. H., placed her on the hood of
the car, and raped her.  DNA evidence taken from S. H. during her rape kit examination conclusively
established the presence of  Hailey's semen.  Stevenson testified that Thomas also had intercourse
with S. H., but did not ejaculate.  Further, Stevenson testified that throughout the assault S. H. was
unable to stand up and seemed unaware of what was happening.  Stevenson also testified that during
the assault Thomas said, "man this bitch is liable to file a rape charge on us, but she probably
wouldn't remember anyway." 

	After the assault, Stevenson testified Thomas and Hailey picked up S. H. by the arms, put
her clothes back on her, and placed her in the car.  Hailey drove back to Leonard, and Thomas,
Stevenson, and Hailey left S. H. in the street approximately one block from her house. 
Approximately five days after the assault, Officer Rex Clark found at the crime scene a pair of
underwear which matched the description given by S. H. and her mother.  S. H.'s mother testified
that, in the months following the assault, Thomas made intimidating gestures toward her on
numerous occasions and repeatedly directed disparaging comments toward her daughter, including
calling her a "bitch" and a "whore."  Based on the above evidence, the trial court convicted Thomas
of aggravated sexual assault.

	On appeal, Thomas complains the accomplice witness testimony was not properly
corroborated, and absent Stevenson's testimony, the remaining evidence was insufficient to connect
him with the offense.  Article 38.14 of the Texas Code of Criminal Procedure provides, "A
conviction cannot be had upon the testimony of an accomplice unless corroborated by other evidence
tending to connect the defendant with the offense committed; and the corroboration is not sufficient
if it merely shows the commission of the offense."  Tex. Code Crim. Proc. Ann. art. 38.14 (Vernon
1979).  The test for sufficient corroboration is to eliminate from consideration the accomplice
testimony and then examine the other inculpatory evidence to ascertain whether the remaining
evidence tends to connect the defendant with the offense.  Burks v. State, 876 S.W.2d 877, 887 (Tex.
Crim. App. 1994).  Accordingly, we must eliminate Stevenson's testimony and consider only the
remaining evidence.   

	The State elicited nonaccomplice testimony that Thomas was in Hailey's car when Stevenson
and S. H. accepted a ride from Hailey.  Further, in Thomas' own statement to the police, he admitted
he was with Hailey, Stevenson, and S. H. from the time they left the game until they left S. H. on the
side of the road. (1)  The State produced ample evidence that the crime was committed during the time
period Thomas admitted being with S. H. (2)

	The State also introduced corroboration testimony from S. H.  During direct examination,
the State elicited the following:

	[State]:	Do you know who Quince Thomas is?


	[S. H.]:	Yes. 


	

	[State]:	Would you point him out?


	[S. H.]:	Right there.


	[State]:	Is he the man sitting at the end of counsel table?


	[S. H.]:	Yes.


	[State]:	Can you tell this jury that he raped you?

	[S. H.]:	He raped me.   

S. H. also testified that she remembered feeling someone having sex with her and that she
remembered falling off of the car and two different people picking her up by her arms and squeezing
very hard. (3) 

	In addition to the foregoing, the State produced testimony Thomas repeatedly harassed S. H.
and her mother after the assault.  For example, S. H.'s mother testified Thomas repeatedly directed
names such as "bitch" and "whore" toward her daughter after the assault.  See Burks, 876 S.W.2d
at 888 (incriminating statements made after offense could be taken into consideration when
determining corroboration).  	

	All the facts and circumstances in the case, both factual and circumstantial, may be
considered when determining whether the accomplice testimony was properly corroborated.  See
Reed v. State, 744 S.W.2d 112, 126 (Tex. Crim. App. 1988).  In the present case, the State produced
nonaccomplice testimony that an offense was committed, that Thomas was present during its
commission, and that he made derogatory comments of a sexual nature to S. H. after the assault. 
Additionally, S. H. identified Thomas as one of the men who raped her.  Based on the foregoing,
there was sufficient evidence tending to connect Thomas with the crime, and the trial court did not
err by admitting the accomplice testimony.  Furthermore, because the accomplice testimony was
properly before the jury, the evidence was sufficient to support the conviction.  

  	For the reasons stated, we affirm the trial court's judgment.       


							Josh R. Morriss, III

							Chief Justice


Date Submitted:	January 15, 2003

Date Decided:		February 27, 2003


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1. "Proof that the accused was at or near the scene of the crime at or about the time of its
commission, when coupled with other suspicious circumstances, may tend to connect the accused
to the crime so as to furnish sufficient corroboration to support a conviction."  Brown v. State, 672
S.W.2d 487, 489 (Tex. Crim. App. 1984).
2. While merely showing the commission of an offense is not alone sufficient to corroborate
an accomplice witness, the court may consider it as a factor along with other possible factors to
determine whether there was sufficient nonaccomplice corroboration.  Reed v. State, 744 S.W.2d
112, 126 (Tex. Crim. App. 1988).
3. S. H.'s mother testified S. H. showed significant bruising on her arms after the assault.  The
mother's testimony logically tends to connect Thomas with the offense, albeit slightly. 



 requirement of
Article 49.09 of the Texas Penal Code.  Id.  Hollen objected to permitting the prosecutor
to read the stipulation before the jury, claiming the exclusion of extrinsic evidence of the
convictions was not enough; the state should be prohibited from mentioning any of the
prior jurisdictional convictions, including reference to Hollen's stipulation, during the
guilt/innocence stage of the trial.  Id. at *1-2.  The state read the stipulation to the jury, and
Hollen was convicted.  The Fort Worth Court of Appeals reversed Hollen's conviction,
holding the trial court erred by permitting the state to read the stipulation to the jury and
such error was harmful.  Hollen, 87 S.W.3d at 158-59.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On petition for discretionary review, the Texas Court of Criminal Appeals reversed. 
Hollen, 2003 Tex. Crim. App. LEXIS 302, at *12.  The court reviewed its holding in Tamez
v. State, 11 S.W.3d 198 (Tex. Crim. App. 2000), and noted the court had previously held
"prior convictions beyond the two jurisdictional elements should not be read or proven
during the State's case-in-chief."  Hollen, 2003 Tex. Crim. App. LEXIS 302, at *6 (quoting
Tamez, 11 S.W.3d at 202-03).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The court then reviewed its opinion in Robles v. State, 85 S.W.3d 211 (Tex. Crim.
App. 2002).  Hollen, 2003 Tex. Crim. App. LEXIS 302.  In Robles, the appellant offered to
stipulate to the existence of the two prior convictions and requested the trial court prevent
the state from introducing evidence of those convictions.   His request was denied.  The
Texas Court of Criminal Appeals held that the stipulation should have been approved and
the state prevented from entering into evidence the judgments of the jurisdictional prior
convictions.  The court noted that each judgment was for a DWI-third offense, and the jury
could have discerned from those judgments that the present trial was for Robles' fifth
alcohol-related offense.  However, the court (in Hollen) then went on to distinguish Robles
on the basis that "Robles did not address whether the jury may be informed of the
stipulation or whether the stipulation itself may be admitted into evidence."  Id. at *8-9.  The
court then reaffirmed its prior holding that "the two prior convictions are jurisdictional
elements that must be proven to obtain a conviction for the offense of felony DWI" and
held it was not error to inform the jury of the stipulation.  Id. at *9 (citing Old Chief v. United
States, 519 U.S. 172, 186 &amp; 191 (1997); Hernandez v. State, 109 S.W.3d 491, 495 (Tex.
Crim. App. 2003); and Barfield v. State, 64 S.W.3d 446, 448-49 (Tex. Crim. App. 2001)). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, proof of Blankenship's prior convictions was necessary to establish the
jurisdictional elements of the crime.  The trial court therefore did not err by permitting the
State to read the stipulation regarding Blankenship's prior jurisdictional convictions into
evidence before the jury.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the trial court's judgment.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Donald R. Ross&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;October 28, 2003
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;October 29, 2003

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